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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:05-cr-00033-MP-AK

CHARLES WRIGHT, JR.,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 49, Motion to Withdraw as Attorney For

Defendant Charles Wright, Jr., filed by George W. Blow III. Mr. Blow was initially appointed to

represent Defendant Wright, but attorney Matthew J. Wells has subsequently entered a notice of

appearance on behalf of Defendant Wright. A telephone hearing was held on this matter on

Tuesday, January 10, 2006. The Government does not object to this motion. Accordingly, the

motion is GRANTED. Mr. Blow is hereby relieved of his duties in this matter. The Clerk is

directed to enter Mr. Wells as the attorney of record for Defendant Wright. The court may

require defendant Wright to reimburse Mr. Blow for his fees and expenses incurred to date.

Additionally, the defendant and his counsel are required to file with this court an affidavit as to

their fee arrangement, including such items as the fee amount, who is paying the fee, and who

has guaranteed the fee. This affidavit must be filed by Friday, February 3, 2006. Finally, the

defendant's oral motion to continue is denied without prejudice to renew at a later date.

       DONE AND ORDERED this              12th day of January, 2006


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
